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                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                                                             In Proceedings
                                                                                   Under Chapter 13
James R Williams
                                                                                   BK 18−31273−lkg

              Debtor(s)
SSN/Individual Taxpayer ID Number (ITIN):

xxx−xx−1186


          ORDER TO EMPLOYER TO PAY CHAPTER 13 TRUSTEE

     The Debtor, James R Williams, having filed a petition under Chapter 13 of the Bankruptcy
Code, has submitted both his/her person and his/her assets, including future income, to the
jurisdiction of this Court. The Court finds it to be in the best interest of the Debtor(s), as well as
the creditors, to have the Debtor's future wages or other income needed to fund the Chapter 13
Plan turned over to the Trustee for distribution. It is hereby
    ORDERED that Debtor's employer or other payor of income, AFLAC, whose address is 4972
Benchmark Center Dr, Ste 300, Swansea, IL 62226 withhold the sum of $500.00 monthly from the
Debtor's income and forward the withheld income to the Chapter 13 Trustee each month. (The
amounts withheld from each payment of the Debtor's wages and the date for disbursement to the
Chapter 13 Trustee shall coincide with the employer's regular payroll dates.) These monies shall
be made payable and mailed to:
              Russell C. Simon
              Chapter 13 Trustee
              PO Box 1898
              Memphis, TN 38101−1898
              (618) 277−0086
              Or to pay electronically go to https://tfsbillpay.com/employer

   This Order shall remain in full force and effect until the earlier of (i) further Order of this
Court or (ii) the Debtor's employment with the above referenced employer is terminated.
   This Order supercedes any previous Order issued by this Court with respect to the Debtor's
wages.
    The Clerk shall issue a copy of this Order to the above named employer, the Debtor, Debtor's
counsel, and the Chapter 13 Trustee.

ENTERED: November 13, 2019                                    /s/ Laura K. Grandy
                                                              UNITED STATES BANKRUPTCY JUDGE
                             Case 18-31273-lkg             Doc 71        Filed 11/15/19         Page 2 of 2
                                               United States Bankruptcy Court
                                               Southern District of Illinois
In re:                                                                                                     Case No. 18-31273-lkg
James R Williams                                                                                           Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0754-3                  User: jl                           Page 1 of 1                          Date Rcvd: Nov 13, 2019
                                      Form ID: 182                       Total Noticed: 2


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 15, 2019.
db             +James R Williams,   292 Eagle Ridge,   O Fallon, IL 62269-1929
               +AFLAC,   4972 BENCHMARK CENTER DR STE 300,   SWANSEA, IL 62226-2070

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 15, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 13, 2019 at the address(es) listed below:
              Jerry D Graham, Jr    on behalf of Debtor James R Williams court@jdgrahamlaw.com,
               jdgrahampc@gmail.com;r47365@notify.bestcase.com
              Russell C Simon    simontrustee@yahoo.com, pacer@simonch13trustee.com
              United States Trustee    USTPRegion10.es.ecf@usdoj.gov
                                                                                             TOTAL: 3
